Case 4:19-cv-00358-ALM   Document 789-5 Filed 03/26/25   Page 1 of 2 PageID #:
                                   35455




                    Insert Sheet for
PLAINTIFF’S TRIAL EXHIBIT
                              0876-1


             (See Physical Guitar)




                                                               PLAINTIFF'S TRIAL
                                                                    EXHIBIT

                                                                  0876-1
                                                                  4:19-CV-00358-ALM
Case 4:19-cv-00358-ALM   Document 789-5 Filed 03/26/25   Page 2 of 2 PageID #:
                                   35456




                                                                   PLAINTIFF'S TRIAL
                                                                        EXHIBIT

                                                                      0876-2
                                                                      4:19-CV-00358-ALM


                                                                          121480
